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                               UNITED STATES DISTRICT COURT FOR
                                   THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                                 Plaintiff,            )      4:09CR3088
                                                       )
                         vs.                           )      FINAL ORDER OF
                                                       )      FORFEITURE
                                                       )
OMAR RAMIREZ GONZALEZ,                                 )
                                                       )
                                 Defendant.            )


          NOW ON THIS 8th day of April, 2010, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

          1. On November 10, 2009, the Court entered a Preliminary Order of Forfeiture pursuant to

the provisions of Title 21, United States Code, Sections 846 and 853 based upon the Defendant's

plea of guilty to Counts I and II of the Indictment filed herein. By way of said Preliminary Order of

Forfeiture, the Defendant’s interest in $600.00 in United States currency was forfeited to the United

States.

          2. Notice of Criminal Forfeiture was posted on an official Government internet site

(www.forfeiture.gov) for at least thirty consecutive days, beginning on December 14, 2009, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime and Asset

Forfeiture Claims. A Declaration of Publication was filed herein on March 26, 2010 (Filing No.75).

          3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

          4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.
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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $600.00 in United States currency held by any

person or entity, is hereby forever barred and foreclosed.

       C. The $600.00 in United States currency be, and the same hereby is, forfeited to the United

States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 8th day of April, 2010.

                                              BY THE COURT:

                                              Richard G. Kopf
                                              United States District Judge
